Case 18-51776-pmb            Doc 28      Filed 05/30/18 Entered 05/30/18 09:22:49                         Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:

   KAWIKA TREVICE WORRELL                                  :        CHAPTER 13
   CAMILLE LIZETTE WORRELL                                 :
              Debtors.                                     :        CASE NO.: 18-51776-PMB
                                                           :

                 CERTIFICATE OF MANNER OF SERVICE PURSUANT TO
                             BANKRUPTCY RULE 7004

            This is to certify that I have this day served a copy of the Amended Chapter 13 Plan
   filed in the above styled case on May 30, 2018 (Doc. No. 27) by depositing same in the
   United States mail with the adequate postage affixed thereto to insure delivery addressed
   as follows:
   LVNV Funding, LLC
   c/o Emmett L. Goodman, Jr.
   Attorney at Law
   544 Mulberry Street
   Suite 800
   Macon, GA 31201-27761
   LVNV Funding, LLC
   c/o Resurgent Capital Services, LP
   PO Box 10675
   Greenville, SC 29603-0675
   Attn: Zachary Singleton

   LVNV FUNDING, LLC
   c/o CORPORATION SERVICE COMPANY
   251 LITTLE FALLS DRIVE
   WILMINGTON, DE 198082

   RESURGENT CAPITAL SERVICES L.P.
   55 BEATTIE PLACE
   SUITE 110
   GREENVILLE, SC, 296013

   1
     Address of plaintiff’s attorney as set forth in the recorded FiFa (as also attached to Proof of Claim 11 filed
   in this case)
   2
     Registered agent per Delaware Secretary of State. NOTE: LVNV Funding LLC is not registered as a
   foreign entity with the Georgia Secretary of State
   3
     Principal office address per Georgia Secretary of State
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   RESURGENT CAPITAL SERVICES L.P.
   c/o Corporation Service Company
   40 Technology Pkwy South
   #300
   Norcross, GA 300924

   RESURGENT CAPITAL SERVICES L.P.
   c/o CORPORATION SERVICE COMPANY
   251 LITTLE FALLS DRIVE
   WILMINGTON, DE 198085




   DATED: May 30, 2018
   _____/s_____________
   Howard P. Slomka
   Georgia Bar #652875
   Attorney for the Debtor
   Slipakoff & Slomka, PC
   Overlook III
   2859 Paces Ferry Rd, SE Suite 1700
   Atlanta, GA 30339




   4
       Registered agent per Georgia Secretary of State
   5
       Registered agent per Delaware Secretary of State
